
650 S.E.2d 602 (2007)
Willie D. GILBERT, II
v.
The NORTH CAROLINA STATE BAR.
No. 41PA07.
Supreme Court of North Carolina.
August 23, 2007.
Katherine E. Jean, Raleigh, David R. Johnson, Deputy Counsel, for NC State Bar.
Eric C. Michaux, Durham, for Gilbert.

ORDER
Upon consideration of the petition filed on the 23rd day of January 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 23rd day of August 2007."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in *603 the manner provided by Appellate Rule 15(g)(2).
